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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

      UNITED STATES OF AMERICA,
                                                   Case No. 3:23-cr-00061-MO-1
                             Plaintiff,
          v.                                       DEFENDANT’S THIRD UNOPPOSED
                                                   MOTION FOR POSTPONEMENT OF
                                                   TRIAL DATE
      KELLEY RAY KAIGHIN,

                             Defendant.


       COMES NOW the Defendant, Kelley Ray Kaighin, by and through his attorney,

Tyl W. Bakker, and good cause appearing therefore, respectfully requests that the Court

grant his motion that the Trial be continued from Tuesday, November 28th, 2023, for

approximately 90 days, to Monday, February 26th, 2023, or a date thereafter convenient to

the Court. This is the third continuance request in this matter. The government, per AUSA

Lewis Burkhart, does not object to this request. This motion is supported by the

Declaration of Counsel.


Dated this 2nd day of November, 2023.


                                                /s/ Tyl Bakker
                                                Tyl Bakker, OSB #902000
                                                Attorney for Kelley Ray Kaighin




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POSTPONEMENT OF TRIAL DATE                                               621 SW Alder Street, Suite 600
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